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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-03-5054 OWW
                                       )
10                                     )       ORDER DIRECTING FEDERAL
                                       )       DEFENDER TO APPOINT COUNSEL
11                   Plaintiff,        )       TO REPRESENT AND DIRECTING
                                       )       COUNSEL FOR DEFENDANT AND
12             vs.                     )       THE UNITED STATES TO APPEAR
                                       )       ON MONDAY, MARCH 27, 2006 AT
13                                     )       9:00 A.M. FOR STATUS
     TRENT DAVIS,                      )       CONFERENCE RE NINTH CIRCUIT
14                                     )       REMAND PURSUANT TO UNITED
                                       )       STATES v. AMELINE
15                   Defendant.        )
                                       )
16                                     )

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          The Ninth Circuit has affirmed defendant’s conviction but
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     remanded defendant’s sentence to proceed pursuant to United
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     States v. Ameline, 409 F.3d 1073 (9th Cir. 2005).1
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          If defendant has not retained counsel to represent him, the
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     Federal Defender is ordered to appoint counsel for further
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           Although this criminal action was transferred from the docket
     of Judge Coyle to the docket of Judge Wanger on March 8, 2004,
25   defendant Trent Davis was sentenced by Judge Coyle prior to this
     transfer. Therefore, Judge Coyle will conduct the proceedings with
26   regard to Trent Davis in connection with this remand.

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1    proceedings pursuant to the remand.

2         The initial inquiry pursuant to the remand is whether the

3    sentence imposed would have been materially different had the

4    district court known that the Guidelines were advisory.          The

5    court concludes that defendant’s presence is not necessary for

6    this initial determination.     Rule 43(b)(3), Federal Rules of

7    Criminal Procedure, provides that a defendant’s presence is not

8    required if “[t]he proceeding involves only a conference or

9    hearing on a question of law.”      A number of cases hold that a

10   defendant’s presence is not required for this initial

11   determination.   See United States v. Crosby, 397 F.3d 103, 120

12   (2nd Cir. 2005); United States v. Paladino, 401 F.3d 471, 484 (7th

13   Cir. 2005); United States v. Coles, 403 F.3d 764, 770 (D.C.Cir.

14   2005); United States v. Lugo, 361 F.Supp.2d 91 (E.D.N.Y. 2005).

15        Counsel for the parties are ordered to appear on Monday,

16   March 27, 2006 at 9:00 a.m. in Courtroom One for further status

17   proceedings regarding the initial inquiry required by United

18   States v. Ameline.

19        IT IS SO ORDERED.

20   Dated:   March 9, 2006                        /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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